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 6
                            UNITED STATES DISTRICT COURT
 7                         WESTERN DISTRICT OF WASHINGTON
                                     AT SEATTLE
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 9
      UNITED STATES OF AMERICA,                       NO. CR20-5386BHS
10
                           Plaintiff,
                                                      STIPULATED MOTION AND ORDER
11
                                                      FOR TRANSFER OF CASE TO DREAM
12                                                    PROGRAM
                      v.
13
      HARLEY SKYBERG,
14
                           Defendant.
15
16                                      I.    MOTION
17         The above-named defendant was identified by the Drug Reentry Alternative
18 Model (DREAM) Executive Review Team as a potential candidate for participation in
19 the DREAM program. Thereafter, and with this Court’s permission, defendant was
20 offered voluntary participation in the DREAM program. At the initial appearance before
21 the DREAM Judicial Officer, the defendant executed the DREAM contract. Sentencing
22 is to held in abeyance while the defendant completes or is otherwise terminated from the
23 DREAM program. The defendant has therefore elected to voluntarily participate in the
24 DREAM program, and the DREAM Judicial Officer has approved the defendant’s
25 participation in the program.
26         Accordingly, the Executive Review Team respectfully moves this Court to transfer
27 this case to the DREAM Judicial Officer for all further proceedings.
28
     STIPULATED MOTION AND ORDER FOR                                          DRUG REENTRY
                                                                           ALTERNATIVE MODEL
     TRANSFER OF CASE TO DREAM PROGRAM - 1                                  U.S. DISTRICT COURT
                                                                            700 STEWART STREET
                                                                          SEATTLE, WASHINGTON 98101
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 1                                          II.     ORDER
 2          The above-named defendant’s participation in the Drug Reentry Alternative
 3 Model (DREAM) program having been approved, the defendant having elected
 4 voluntarily to participate in the DREAM program, and the defendant having entered a
 5 guilty plea pursuant to a plea agreement conditioned on the defendant’s participation in
 6 the DREAM program,
 7          IT IS HEREBY ORDERED that, upon acceptance of the transfer by the DREAM
 8 program’s Judicial Officer, the above-captioned case shall be transferred to the DREAM
 9 Judicial Officer for all further purposes.
10
11          DATED this 19th day of October, 2020.




                                                  A
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15                                                BENJAMIN H. SETTLE
                                                  United States District Judge
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18
            The undersigned United States District Judge, being the DREAM program’s
19
     Judicial Officer, hereby accepts the transfer of this case for all further purposes.
20
21
            DATED this 19th day of October, 2020.
22
23
24                                                       A
                                                         _______________________________
                                                         HON. RICHARD A. JONES
25                                                       United States District Judge
26
27
28
      STIPULATED MOTION AND ORDER FOR                                                DRUG REENTRY
                                                                                  ALTERNATIVE MODEL
      TRANSFER OF CASE TO DREAM PROGRAM - 2                                        U.S. DISTRICT COURT
                                                                                   700 STEWART STREET
                                                                                 SEATTLE, WASHINGTON 98101
